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                                            5
                                                Attorneys for Defendant
                                            6   JASVIR KAUR

                                            7

                                            8                                        IN THE UNITED STATES DISTRICT COURT

                                            9                                      FOR THE EASTERN DISTRICT OF CALIFORNIA

                                           10

                                           11   UNITED STATES OF AMERICA,                                     ) Case No. 2:14-CR-00169-GEB
                                                                                                              )
                                           12                           Plaintiff,                            ) STIPULATION AND [PROPOSED]
                                                                                                              ) ORDER
               S ACRAMENTO , C ALIFORNIA




                                           13              v.                                                 )
B ARTH D ALY LLP
                   A TTORNEYS A T L AW




                                                                                                              )
                                           14   MOHAMMAD SHAHBAZ KHAN, HARJIT                                 )
                                                                                                              )
                                                JOHAL, and JASVIR KAUR                                        )
                                           15                                                                 )
                                                                         Defendants.                          )
                                           16                                                                 )
                                           17

                                           18              Plaintiff United States of America, by and through its counsel of record, and defendants

                                           19   Mohammad Khan, Harjit Johal and Jasvir Kaur, by and through their counsel of record, hereby

                                           20   stipulate as follows:

                                           21              1.           By previous order, this matter was set for a trial confirmation hearing on October

                                           22   23, 2015. Trial in this matter is currently set to commence November 10, 2015.

                                           23              2.           By this stipulation, defendants now move to vacate the trial confirmation hearing,

                                           24   vacate the trial date and set a status hearing for January 8, 2016. The defendants seek to exclude

                                           25   time under Local Code T4. Plaintiff does not oppose this request.

                                           26              3.           The parties agree and stipulate, and request that the Court find the following:

                                           27                           a.         On or about October 1, 2015 the grand jury returned a superseding

                                           28   indictment. The superseding indictment adds Jasvir Kaur as a defendant in this case. Ms. Kaur

                                                {00017307}
                                                Stipulation and [Proposed] Order                              1                        [Case No. 2:14-CR-00169-GEB]
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                                            1   was arraigned on October 6, 2015.

                                            2                           b. The government has forwarded discovery to counsel for Ms. Kaur. Defense

                                            3   counsel has yet to receive said discovery. Upon receipt of the discovery, defense counsel for Ms.

                                            4   Kaur will require time to review the discovery, meet with Ms. Kaur and conduct an appropriate

                                            5   investigation.

                                            6                           c.         An exclusion of time is appropriate as to Misters Khan and Johal in order

                                            7   to provide for continuity of counsel.

                                            8                           d.         The government does not object to the continuance.

                                            9                           e.         Based on the above-stated findings, the ends of justice served by

                                           10   continuing the case as requested outweigh the interest of the public and the defendants in a trial

                                           11   within the original date prescribed by the Speedy Trial Act.

                                           12                           f.         For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
               S ACRAMENTO , C ALIFORNIA




                                           13   3161, et seq., within which trial must commence, the time period of October 23, 2015 to January
B ARTH D ALY LLP
                   A TTORNEYS A T L AW




                                           14   8, 2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

                                           15   Code T4] because it results from a continuance granted by the Court at each defendant’s request

                                           16   on the basis of the Court's finding that the ends of justice served by taking such action outweigh

                                           17   the best interest of the public and the defendants in a speedy trial.

                                           18                           g.         This case involves multiple witnesses, multiple defendants; both

                                           19   defendants and the witnesses require interpreters.

                                           20              4.           Nothing in this stipulation and order shall preclude a finding that other provisions
                                           21   of the Speedy Trial Act dictate that additional time periods are excludable from the period within

                                           22   which a trial must commence.

                                           23   IT IS SO STIPULATED.

                                           24   DATED:                  October 22, 2015
                                                                                                  /s/ Kresta Daly for _______________
                                           25                                                     Jared Dolan
                                                                                                  Assistant United States Attorney
                                           26
                                           27   ///

                                           28   ///
                                                {00017307}
                                                Stipulation and [Proposed] Order                               2                         [Case No. 2:14-CR-00169-GEB]
                                                   Case 2:14-cr-00169-KJM Document 105 Filed 10/23/15 Page 3 of 3


                                            1   DATED:                  October 22, 2015
                                                                                           /s/ __Kresta Daly         ___________
                                            2                                              Kresta Nora Daly
                                                                                           Counsel for Defendant Jasvir Kaur
                                            3

                                            4   DATED:                  October 22, 2015
                                                                                           /s/ __Kresta Daly for   ___________
                                            5                                              Gilbert Roque
                                                                                           Counsel for Defendant Mohammad Khan
                                            6

                                            7   DATED:                  October 22, 2015
                                                                                           /s/ __Kresta Daly for   ___________
                                            8                                              Olaf Hedberg
                                                                                           Counsel for Defendant Harjit Johal
                                            9

                                           10

                                           11                                                   ORDER

                                           12              IT IS SO FOUND AND ORDERED.
               S ACRAMENTO , C ALIFORNIA




                                           13   Dated: October 22, 2015
B ARTH D ALY LLP
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                                                {00017307}
                                                Stipulation and [Proposed] Order                      3                       [Case No. 2:14-CR-00169-GEB]
